                       Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 1 of 13




January 25, 2018
                                                    Education Technology (Ed Tech): Q4/17 Earnings Preview
Industry Research
               Current        Mkt Cap
Ticker
                Price          ($Mil)
                                          Rating       The education landscape has changed dramatically over the last decade, though
Ed Tech Coverage Companies                              we believe we are still in the early stages of a broader evolution regarding the
TWOU                $72.84       $3,804        OP       way we learn. Technology has been a major catalyst, though broad acceptance
CHGG                $16.75       $1,816        OP       among the traditional education platforms remains in its infancy and there is
INST                $34.00       $1,012        OP       significant runway ahead for new business models and technologies to shape
LRN                 $16.65         $688        OP       the way our society will share and pass on knowledge for decades to come.
RST                 $12.39         $276        OP
                                                       It is estimated that approximately $1.7 trillion is spent annually on educational
Non‐Coverage Related Companies
                                                        services in the United States, with overall education spending growing at a 4%
BNED          $7.29        $342                 ‐       CAGR since 2010. Growth in this industry has been relatively stable for many
HMHC          $8.70      $1,073                 ‐       decades, exhibiting a 4.2% CAGR since 1960. More recently, technology‐enabled
JW.A         $67.85      $3,239                 ‐       products and services have been revolutionizing the education space and
PSO           $9.77      $5,486                 ‐       creating material shifts in spend allocation, driven largely by growing adoption
SCHL         $39.22      $1,304                 ‐       of online programs and cloud‐based learning tools. Academic institutions and
                                                        employers are attracted to the increased flexibility and convenience that these
                                                        products offer, as evidenced by an outsized 25% CAGR in online higher
Ratings Legend                                          education spend from 2012 to 2017. The Center for Digital Education estimates
OP = OUTPERFORM                                         that higher ed institutions will spend $12.8 billion in 2018, while K‐12
MP = MARKET PERFORM                                     instututions are expected to spend $14 billion.

Education Performance Chart                            The competitive landscape is vast and some would argue overly crowded and
                                                        prime for consolidation as the Ed Tech testing ground shakes out the winners
     Indexed to 100 as of 22 Jan 16                     and losers. The leading companies driving growth among customers, schools
                                          300           and students are largely still private, though increasingly well‐funded by leading
                                                        venture capital firms. 2U, Inc. (TWOU), Chegg, Inc. (CHGG) and Instructure
                                          250
                                                        (INST), all have become public companies over the last several years, while
                                          200
                                                        many legacy education providers (content publishers) have been acquiring or
                                          150           internally developing technology‐based products whose growth is expected to
                                          100           far outpace their traditional models. Significant growth in venture capital
                                          50            attention and dollars suggest many more companies will enter the public
    4/15     1/16     10/16    7/17                     markets and allow investors to participate in the Ed Tech sector.
           Ed_Tech_Index
Barrington Research Ed Tech Index                      In the following pages, we provide a background on the Ed Tech industry as well
                                                        as a discussion of key trends driving its growth. We also provide fourth quarter
                                                        earnings previews on the publicly‐traded Ed Tech companies on our coverage
Analyst(s)
B
                                                        list, including 2U, Inc. (TWOU), Chegg, Inc. (CHGG), Instructure (INST), K12 Inc.
Alexander Paris, Jr., CFA                               (LRN) and Rosetta Stone (RST).
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    NOTE: Please refer to page 12 of this report
            for important disclosures.




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                                                                  AR-C-1755
              Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 2 of 13

                                                                                                                                                January 25, 2018

                              Ed Tech: Background and Opportunity

                              The education landscape has changed dramatically over the last decade, though we believe we
                              are still in the early stages of a broader evolution regarding the way we learn. Technology has
                              been a major catalyst, though broad acceptance among the traditional education platforms
                              remains in its infancy and there is significant runway ahead for new business models and
                              technologies to shape the way our society will share and pass on knowledge for decades to
                              come. The shift towards digital and online learning is redefining the classroom as well as the
                              method of instruction and materials implemented across all levels of the educational ecosystem.
                              Coursework is becoming more personalized, increasingly adaptive to changing learning
                              environments, and more accurately measured with respect to efficacy. This changing landscape
                              requires new products and tools, which has opened the door for a large number of new entrants
                              to the industry. The market stands ready for the Ed Tech sector to lead this charge, as major
                              players make the leap from the testing ground to fully implemented learning services.

                              Ed Tech is certainly a broad category comprising a vast array of sub‐segments, each of which
                              seems to have its own marketable acronyms, including but not limited to:
                                     Learning Management Systems (LMS) – Canvas (Instructure), Desire2Learn, Blackboard
                                     Online Program Management (OPM) – 2U, Embanet (Pearson), Deltak (Wiley), K12 (LRN)
                                     Massive Open Online Courses (MOOCs) – Coursera, edX, Canvas Network (Instructure)
                                     Adaptive Learning Systems (ALS) – Knewton, Dreambox Learning
                                     Open Educational Resources (OER) – Course Hero, LearnZillion
                                     Content Management Systems (CMS) – Campus Suite, Ingeniux
                              In addition to the services and platforms, the broader Ed Tech space is also home to additional
                              endeavors including but not limited to: open low‐cost degree alternatives (i.e., bootcamps) and
                              certification, language learning technologies (Rosetta Stone and Duolingo), student lifecycle
                              management tools, educational gaming, online tutoring, Ed Tech consulting firms, and peer to
                              peer collaboration tools.

                              Education Spending in the United States and Globally

                                                                           United States Market Size ($MM)                             Global Market Size ($MM)
                                                                                 2017            2020E CAGR                                2017           2020E CAGR
                              Childcare and Pre‐K                     $        53,375 $         61,608    4%                  $        210,802 $       249,131    4%
                              K‐12                                    $      746,563 $        837,343     3%                  $      3,129,169 $     3,679,961    4%
                              Post‐Secondary                          $      629,186 $        690,357     2%                  $      1,628,863 $     1,872,843    4%
                              Lifelong Learning (Non‐Degree)          $           386 $            838   21%                  $            589 $          1,496  26%
                              Corporate                               $      263,267 $        309,793     4%                  $        375,578 $       466,580    6%

                              Total                                   $      1,692,777 $         1,899,939        3%          $      5,345,002 $    6,270,010   4%

                              Source: GSV Capital "2020 Vision, A History of the Future" 2016, National Center for Education Statistics, 2017


                              Broad Market in Transformation
                              It is estimated that approximately $1.7 trillion is spent annually on educational services in the
                              United States, with overall education spending growing at a 4% CAGR since 2010. Growth in this
                              industry has been relatively stable for many decades, exhibiting a 4.2% CAGR since 1960.

                              More recently, technology‐enabled products and services have been revolutionizing the
                              education space and creating material shifts in spend allocation, driven largely by growing
                              adoption of online programs and cloud‐based learning tools. Academic institutions and
                              employers are attracted to the increased flexibility and convenience that these products offer, as
                              evidenced by an outsized 25% CAGR in online higher education spend from 2012 to 2017.
                              Investment priorities among institutions include: personalized learning applications, digital
                              content and curriculum, mobile devices, and network modernization. The chart included below

Education Technology: Q4/17 Earnings Preview                                                                                                                           2
                                                                     AR-C-1756
              Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 3 of 13

                                                                                                                                                                                                January 25, 2018

                              shows online post‐secondary enrollment (students enrolled in at least one online course) in the
                              U.S. in absolute numbers and as a percentage of total enrollment:

                              Post‐Secondary Education Online Course Enrollment Trends

                                                                                      Total Enrollment         Number of Students Enrolled in an Online Course             Online as % of Total Enrollment
                                                              25                                                                                                                                                      100.0%

                                                                                                                                                                                                                      90.0%

                                                              20                                                                                          21.0     21.0       20.9      20.7                          80.0%
                                                                                                                                                 20.4                                             20.5




                                                                                                                                                                                                                               Online as Percent of Total Enrollment (%)
                                                                                                                                                                                                              20.3
                                                                                                                                       19.1
                               Student Enrollment Millions)                                                              18.2                                                                                         70.0%
                                                                                                    17.5       17.8
                                                                               16.9       17.3
                                                                     16.6
                                                              15                                                                                                                                                      60.0%

                                                                                                                                                                                                                      50.0%

                                                              10                                                                                                                                                      40.0%

                                                                                                                                                                                                                      30.0%

                                                               5                                                                                                                        5.6        5.8         6.0    20.0%
                                                                                                                                                 5.0      5.3      5.4        5.4
                                                                                                                                       4.6
                                                                                                               3.5           3.9
                                                                                                    3.2                                                                                                               10.0%
                                                                               2.0         2.3
                                                                     1.6
                                                              ‐                                                                                                                                                       0.0%
                                                                   Fall 2002 Fall 2003 Fall 2004 Fall 2005 Fall 2006 Fall 2007 Fall 2008 Fall 2009 Fall 2010 Fall 2011 Fall 2012 Fall 2013 Fall 2014 Fall 2015
                               Source: Distance Education Enrollment Report, Babson Survey Research Group, February 2017

                                                                                                 2002       2003      2004      2005      2006     2007     2008    2009      2010      2011     2012         2013    2014     2015
                              Total Enrollment                                                   16.6       16.9      17.3      17.5      17.8     18.2     19.1    20.4      21.0      21.0     20.9         20.7    20.5     20.3
                              Online Course Enrollment                                            1.6        2.0       2.3       3.2       3.5      3.9      4.6     5.0       5.3       5.4      5.4          5.6     5.8      6.0
                              Online as % of Total Enrollment                                    9.6%      11.7%     13.5%     18.2%     19.6%    21.6%    24.1%   24.5%     25.3%     25.7%    25.9%        27.1%   28.3%    29.7%

                                                 Source: Distance Education Enrollment Report, Babson Survey Research Group, February 2017



                              The competitive landscape is vast and some would argue overly crowded and prime for
                              consolidation as the Ed Tech testing ground shakes out the winners and losers. The leading
                              companies driving growth among customers, schools and students are largely still private,
                              though increasingly well‐funded by leading venture capital firms. 2U, Inc. (TWOU), Chegg, Inc.
                              (CHGG) and Instructure (INST), all have become public companies over the last several years,
                              while many legacy education providers (content publishers) have been acquiring or internally
                              developing technology‐based products whose growth is expected to far outpace their traditional
                              models. Significant growth in venture capital attention and dollars suggest many more
                              companies will enter the public markets and allow investors to participate in the Ed Tech sector.

                              Key Trends Driving Growth in EdTech

                              Focus on Effectiveness: Increased scrutiny on higher education placement rates and calls for
                              continued reforms throughout the education system have placed a growing emphasis on
                              delivering measurable learning outcomes. According to data provided by the National Center for
                              Education Statistics, employment rates remain meaningfully below pre‐recession levels on a
                              relative basis, regardless of the level of education sought. While highly educated individuals
                              (those with a Bachelor’s degree or higher) have remained more resilient to negative employment
                              trends overall, there appears to be a diminishing returns dynamic in relation to the rising costs of
                              education under traditional schooling structures.

                              While post‐education employment is just one data point on a vast scale of measurable outcomes,
                              it points to inherent inefficiencies in the current education model. The rise of tech‐driven
                              solutions throughout the education ecosystem have created new opportunities for educators to
                              deliver measurable improvement in learning outcomes, while also controlling ballooning cost
                              structures. The idea that a costly education is inherently a “better” education is quickly becoming
                              a thing of the past as new entrants have proven that we can optimize the learning process to
                              achieve better outcomes across more highly focused and objective measurements. We have seen
                              online programs and MOOCs (Massive Open Online Courses) address this issue head on, offering

Education Technology: Q4/17 Earnings Preview                                                                                                                                                                                                                               3
                                                                                                         AR-C-1757
              Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 4 of 13

                                                                                                                                             January 25, 2018

                              alternative learning structures typically at lower cost to the student. MOOCs, in particular, as
                              they have gained scale, business maturations, and relative acceptance within the broader
                              education ecosystem, have shown that competitive models can offer compelling results in both
                              platform enrollment and learning comprehension. Leaders in this space, which include the likes
                              of Coursera, EdX, Udacity, and Canvas Network (Instructure) are beginning to reap the benefits
                              of scale now that degree verification is become more widely accepted in today’s workforce and
                              platform users are reaching a critical mass at which business models begin to reach profitability.

                              Tuition Fee Trends in the United States
                                                                Unemployment Rate       Private Nonprofit Four‐Year       Public Four‐Year   Public Two‐Year

                                                      $40,000                                                                                                     12.0

                                                                                                                                                        $34,740
                                                      $35,000
                                                                                                                                                                  10.0

                                                      $30,000
                               Average Tuition Cost




                                                                                                                                                                         Unemployment Rate (U.S.)
                                                                                                                                                                  8.0
                                                      $25,000


                                                      $20,000                                                                                                     6.0


                                                      $15,000
                                                                                                                                                                  4.0
                                                                                                                                                         $9,970
                                                      $10,000

                                                                                                                                                                  2.0
                                                       $5,000                                                                                            $3,570



                                                          $0                                                                                                      0.0
                                                                1972    1977     1982      1987       1992      1997       2002       2007   2012     2017

                                                           Source: College Board, Annual Survey of Colleges. NCES, 2018

                              Broadening of the Learning Lifecycle: Today’s workforce is dynamic and dependent on a growing
                              set of new technological trends. Continued relevance in the workforce requires a steady and
                              continuous effort toward skill‐based learning. The concept of a lifelong student requires the
                              introduction of more flexible and highly targeted programs. Whether through formal degree
                              programs delivered virtually, such as those delivered by 2U, or delivery of individual courses or
                              certificates, today’s students require greater educational access in more flexible structures.

                              We have also witnessed an emergence of programs geared for modern skill sets that may not be
                              addressed as effectively in more traditional learning institutions. Companies such as Pluralsight,
                              General Assembly, and Codeacademy have found ways to address a growing need for IT and
                              tech‐based skills amidst a workforce that either has not had formal exposure to required skills
                              previously, or lack access to relevant curriculums at traditional university settings. Whether
                              originated for purposes of career advancement or general curiosity, tech‐based learning
                              platforms have allowed unprecedented access to a new and evolving landscape of educational
                              content that extends well beyond the four‐year institutional model.

                              The Power of Big Data: As in nearly every industry that “Big Data” touches, evolving capabilities
                              in analytics has created a multitude of opportunities for improvement within the education
                              space. A major application of advanced data analytics in education has been the concept of
                              Adaptive Learning Companies such as Knewton, ScootPad, SnapWiz, and DreamBox Learning
                              that have led the charge in this endeavor through the provision of software that analyzes student
                              behavior and implements highly personalized and responsive strategies to improve individual
                              outcomes. Adaptive Learning addresses major concerns that have simmered for decades
                              regarding the rigidity of the nation’s curriculum (i.e., Common Core Standards) and the one‐size
                              fits all approach to assessment by recognizing that not all students need take the same path to a
                              common outcome. Adaptive Learning technologies help identify which methods of instruction

Education Technology: Q4/17 Earnings Preview                                                                                                                                                    4
                                                                                AR-C-1758
              Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 5 of 13

                                                                                                           January 25, 2018

                              yield the best results for an individual and enable teachers to guide a diverse group of minds
                              toward a unified goal. By harnessing the power of Big Data and predictive analytics, Adaptive
                              Learning technologies allow teachers to present students with educational content or activities
                              (lessons, quizzes, videos, etc.) in a manner that proactively responds to the student’s identified
                              strengths or weaknesses (typically characterized through periodic assessment). This sort of
                              responsive analysis of lesson delivery enables publishers and other partners to evaluate content
                              efficacy and create more effective learning materials and assessments, while allowing teachers to
                              ensure adequate pacing and retention for a diverse classroom of students.
                              Another important trend in Big Data application is in student lifecycle management. Institutions
                              now have an evolving capability of better understanding and predicting student behavior and can
                              more proactively address major industry headaches such as student retention rates, sagging
                              graduation rates, and assessing financial risks associated with tuition payment. Ed Tech has
                              spawned a new generation of companies utilizes Predictive Analytics to identify correlations
                              between student behavior and historical learning outcomes. This sort of active analysis of
                              student behavior (whether through coursework completion, course selection, class engagement,
                              etc.) can provide reasonable cues to teachers and administrative staff that may signal or
                              forewarn of detrimental and often avoidable student results. Predictive analytics presents
                              administrators with an opportunity to intervene with timely support strategies to ensure that
                              students maintain an optimal path toward graduation and allows teachers to actively manage
                              their course design to achieve better learning outcomes.
                              Content and Collaboration: A modern student body requires an equally modern tool set. Today’s
                              workforce relies heavily on digital tools, devices and computers to drive continual improvement,
                              and the classroom is no different. According to surveys conducted in 2016 by the Pew Research
                              Center, approximately 92% of adults between the ages of 18 to 29 own a smartphone.
                              Ownership of other connected devices is equally high among young adults with 78% owning a
                              laptop/computer, 51% owning a tablet computer, and 22% owning an e‐reader. The wide
                              domestic adoption and ubiquitous usage of personal computing devices throughout everyday life
                              makes a clear case for broader utilization of technology in the classroom.
                              While still in the early stages of adoption (due largely to funding requirements and in some cases
                              tech‐aversion in the traditional school setting), computers and connected devices in the
                              classroom are a major catalyst for the creation of new types of effective and compatible content
                              aimed at education. The Center for Digital Education estimates that K‐12 instututions are
                              expected to spend $14 billion on technology in the 2017‐2018 school year. Approximately $3.5
                              billion of that total is spent on delivering computing devices in the classroom. On a per student
                              level, this digital device rollout remains in its early stages but is gaining pace rapidly. The
                              digitization of study tools has created a significant shift in the way students consume educational
                              content. The textbook industry was perhaps the first to feel the seismic shift of digitization as
                              students sought content that was more compatible with the devices they were accustomed to in
                              terms of media‐consumption. Companies such as Chegg and Rafter have been at the forefront of
                              digitized content and traditional textbook conversion, though additional toolsets are enabling
                              teachers to create and collaborate on new content in a manner that has never been seen before.
                              Companies such as LearnZillion and Course Hero have created platforms that provide open‐
                              source and often peer‐to‐peer Open Educational Resources (OER). These platforms help create
                              communities of students and educators that each play a role in building and maintaining a
                              portfolio of educational content and resources. Teachers use the platform to discover new
                              instructional ideas and methods or share effective teaching materials. Students can use the
                              platform to share notes or flashcards within a certain subject area or topic. These platforms
                              often operate as marketplaces, offering these materials on a per‐document or subscription basis.
                              The content provides a valuable platform from which the company may also offer auxiliary
                              services. Large incumbent publishers such as McGraw Hill (in registration), Houghton Mifflin
                              (HMHC) and Pearson (PSO), have all responded to this open‐source movement in some way,
                              often providing proprietary platforms, which allow educators to share information and study
                              techniques within the confines of the publisher’s license and IP agreements.

Education Technology: Q4/17 Earnings Preview                                                                                   5
                                                        AR-C-1759
                              Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 6 of 13

                                                                                                                                                                                     January 25, 2018

                                                                                                                                                                    Enterprise Value to        Enterprise Value to
                                                                                                                                            Price to Earnings             EBITDA                     Sales
                                                               Trading / Ownership                                Income Statement                 (P/E)               (EV/EBITDA)                 (EV/Sales)
                                                     Market Enterprise         52‐wk ADTV                           Sales  Gross EBITDA
                                                       Cap    Value      Price  Price $ Value              201 7E Growth Margin Margin
   Company Name                             Ticker   ($MM)   ($MM)        ($)   ( ∆%) ($'00 0)              Sales Rate %     (%)   (%)    2 017E 2018E 20 19E      201 7E 2018 E 2019 E       2 017E 2018 E 2019 E

   Tech‐Driven Educational Services

* 2U, Inc.                                  TWOU      3,804      3,601     $ 72.84     112       25,905     285     37     80      ‐6      NA      NA       NA     339.3x 237.9x 135.3x       12.6x   9.1x    6.9x
  Cambium Learning Group, Inc.              ABCD       317        374      $    6.79    29        483       NA       5     69     30       NA      NA       NA       NA      NA       NA       NA      NA     NA

* Chegg, Inc.                               CHGG      1,816      1,613     $ 16.75     127       14,051     252     ‐16    67      ‐3     65.3x   37.6x    27.1x   35.8x    21.7x    16.0x     6.4x   5.5x    4.4x

* Instructure, Inc.                         INST      1,012       946      $ 34.00      53       6,825      156     51     71     ‐31      NA      NA       NA       NA      NA       NA       6.0x   4.7x    3.7x

* K12, Inc.                                 LRN        688        571      $ 16.65      0        2,576      889      2     37      12     41.6x   33.1x    30.5x    4.9x     4.6x    4.7x      0.6x   0.6x    0.6x

   Group Mean                                         1,528      1,421      $ 29 .41   64        9,9 68     39 6    16     65      0      53 .5x 3 5.3x    28.8x   1 26.7 x 8 8.1x 52.0x      6.4x    5 .0x   3.9x
   Group Median                                       1,012       946       $ 16 .75   53        6,8 25     26 9    5      69     ‐3      53 .5x 3 5.3x    28.8x   35.8 x   2 1.7x 16.0x      6.2x    5 .1x   4.1x


   Post‐Secondary Education (Online/Hybrid)

* Adtalem Global Education, Inc.            ATGE      2,818      2,674     $ 46.45      41       26,437    1,810    ‐2     48      17     16.6x   16.6x    14.7x    8.4x     9.0x    8.3x      1.5x   1.5x    1.5x

* American Public Education, Inc.           APEI       414        248      $ 25.45      5        1,563      298     ‐5     54      18     23.0x   23.2x    22.0x    4.7x     4.9x    4.8x      0.8x   0.8x    0.8x
  Aspen Group, Inc.                         ASPU       131        130      $    8.81   151        328       22      69     59      ‐6      NA      NA      9.8x      NA     146.3x   7.3x      6.0x   3.2x    2.2x

* Bridgepoint Education, Inc.               BPI        243          31     $    8.32   ‐25       2,359      483     ‐6     57      6      13.6x   16.8x    16.3x    1.1x     1.1x    0.8x      0.1x   0.1x    0.1x

* Capella Education Co.                     CPLA       968        800      $ 82.90      ‐4       9,665      441      0     58      20     23.3x   22.5x    20.8x    9.2x     8.7x    8.0x      1.8x   1.8x    1.7x
  Career Education Corp.                    CECO       864        688      $ 12.50      25       3,103      595     ‐17    68      3      50.0x   15.4x    11.8x     NA      NA       NA       1.2x   1.2x    1.1x

* Grand Canyon Education, Inc.              LOPE      4,499      4,222     $ 93.49      63       20,657     971     12     59      34     24.0x   22.8x    20.8x   12.4x    11.5x    10.4x     4.3x   4.0x    3.7x

* Laureate Education, Inc.                  LAUR      3,005      5,939     $ 16.04     NA        7,683     4,348    ‐1     15      15      NA     21.8x    15.0x    7.7x     7.1x    6.7x      1.4x   1.3x    1.3x
  National American University Holdings, Inc. NAUH      31          34     $    1.29   ‐41        36        NA      ‐10    63      ‐4      NA      NA       NA       NA      NA       NA       NA      NA     NA
  Strayer Education, Inc.                   STRA      1,073       923      $ 96.11      17       10,131     458      2     47      18     28.9x   24.9x    22.8x   11.0x     9.7x    9.1x      2.0x   1.9x    1.8x

   Group Mean                                         2,152      2,780      $ 51 .73   13        9,6 27    1 ,925   1      46     16      26 .4x 2 3.2x    19.5x   10.4 x   9 .4x    8.7x     2.6x    2 .4x   2.3x
   Group Median                                       2,039      2,572      $ 54 .77   17        8,9 07     97 1    0      53     17      26 .4x 2 2.8x    20.8x   11.0 x   9 .7x    9.1x     2.0x    1 .9x   1.8x


   Diversified Educational Services (Publishing/Digital/Services)
  Barnes & Noble Education, Inc.            BNED       342        366      $    7.29   ‐31       3,660     2,183     4     22      5      11.6x   10.9x     NA      3.1x     3.0x     NA       0.2x   0.2x    NA
  Educational Development Corp.             EDUC        89        105      $ 21.75     135        262       NA      68     74      8       NA      NA       NA       NA      NA       NA       NA      NA     NA
  Graham Holdings Co.                       GHC       3,306      2,879     $ 591.25     13       8,598      NA      ‐4     46     17       NA      NA       NA       NA      NA       NA       NA      NA     NA
  Houghton Mifflin Harcourt Co.             HMHC      1,073      1,632     $    8.70   ‐18       7,814     1,394    ‐3     40      13      NA      NA       NA      8.7x     7.2x    5.4x      1.2x   1.1x    1.1x
  John Wiley & Sons, Inc.                   JW.A      3,861      4,351     $ 67.85      26       15,596    1,759     0     70      23     20.8x   19.2x    17.9x   11.1x    10.6x    9.7x      2.5x   2.5x    2.4x

* Rosetta Stone, Inc.                       RST        276        238      $ 12.39      42       1,231      186     ‐11    80      5       NA      NA       NA     21.6x    16.6x     NA       1.3x   1.3x    NA
  Scholastic Corp.                          SCHL      1,369       992      $ 39.22     ‐15       5,242     1,655     4     52      7      30.9x   27.3x    23.9x    9.8x     7.3x    6.5x      0.6x   0.6x    0.6x
  School Specialty, Inc.                    SCOO       118        305      $ 16.84      7         333       NA       6     35      7       NA      NA       NA       NA      NA       NA       NA      NA     NA

   Group Mean                                         1,304      1,359      $ 95 .66   20        5,3 42    1 ,436   8      52     11      21 .1x 1 9.2x    20.9x   10.9 x   8 .9x    7.2x     1.1x    1 .1x   1.4x
   Group Median                                        708        679       $ 19 .30   10        4,4 51    1 ,655   2      49      8      20 .8x 1 9.2x    20.9x    9.8x    7 .3x    6.5x     1.2x    1 .1x   1.1x


   Technical Education

* Lincoln Educational Services Corp.        LINC        49          51     $    1.99    0         43        262      2     51      1       NA     10.0x     NA     12.9x     3.2x     NA       0.2x   0.2x    NA
  Universal Technical Institute, Inc.       UTI         67          ‐3     $    2.66   ‐18        76        324     ‐7     44      6       NA      NA       NA      ‐0.2x    NA      ‐0.2x     0.0x   0.0x    0.0x

   Group Mean                                           58          24      $ 2 .33     ‐9        59        29 3    ‐2     48      3       NA     1 0.0x    NA      6.3x    3 .2x    ‐0 .2x   0.1x    0 .1x   0.0x
   Group Median                                         58          24      $ 2 .33     ‐9        59        29 3    ‐2     48      3       NA     1 0.0x    NA      6.3x    3 .2x    ‐0 .2x   0.1x    0 .1x   0.0x


  Source:Factset Research Systems and Barrington Research Investment Banking, January 25, 2018
  All figures are in millions, unless otherwise specified




Education Technology: Q4/17 Earnings Preview                                                                                                                                                                         6
                                                                                                          AR-C-1760
                       Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 7 of 13

                                                                                                                                  January 25, 2018


2U, Inc.                                                                           Current Price:      $72.84             Rating:    OUTPERFORM
TWOU: NASDAQ                                                                       Range (52 wk):      $75.80 ‐ $32.77    Risk:      Aggressive
                                                                                   Mkt Cap (mil):      $3,798             Target:    $80

Alexander Paris, CFA                                Q4/17 Preview; Raising Price Target to $80
(312) 634‐6352
aparis@brai.com                                        We project that 2U, Inc. will report the financial results of its fourth quarter and year ended
                                                        December 31 on or around Thursday, February 22, after the market close.
Chris Howe
(312) 634‐6343                                         Q4/17 estimates/guidance: Our estimates call for revenue of $85.1 million (+48.4% YOY),
ch@brai.com                                             adjusted EBITDA of $12.1 million (14.2% margin) compared to adjusted EBITDA of $4.6
                                                        million (7.9% margin) last year, and adjusted EPS of $0.13 compared to $0.04 last year. The
                                           80           FactSet consensus calls for revenue of $85.1 million, adjusted EBITDA $12.2 million and
                                           70
                                                        adjusted EPS of $0.13. On its last conference call (November 8), management said it
                                                        expects Q4/17 revenue in a range of $84.6‐85.6 million, adjusted EBITDA in a range of
                                           60
                                                        $11.8‐12.5 million and adjusted EPS in a range of $0.13‐0.14.
                                           50
                                                       Full‐year 2017 estimates/guidance: Our estimates call for revenue of $285.2 million (up
                                           40
                                                        38.5% YOY), adjusted EBITDA of $10.8 million (vs. $4.5 million last year), and an adjusted
                                           30
  Feb      May       Aug       Nov
                                                        net loss per share of $0.09, compared to an adjusted net loss per share of $0.10 last year.
                                                        The FactSet consensus calls for revenue of $285.2 million, adjusted EBITDA of $10.7 million
                                                        and an adjusted net loss per share of $0.10. Management’s guidance calls for full‐year 2017
 FY: Dec          Adj. EPS        Prev       PE         revenue in a range of $284.7‐285.7 million (+38.3‐38.8% YOY); adjusted EBITDA in a range
 2016A            (0.10)                     NM         of $10.5‐11.2 million, representing a margin of 4.0% at the midpoint compared to 2.2% last
 2017E            (0.09)                     NM         year; and an adjusted net loss per share in a range of $0.10‐0.09.
 2018E            (0.12)                     NM
                                                       Preliminary full‐year 2018 guidance: While the 2018 budget cycle is not complete,
                                                        management provided a preliminary view into 2018 on its last conference call, which calls
                                                        for revenue to increase 38‐39% suggesting revenue of $395.0 million at the mid‐point.
Company Description                                     Management said it expects adjusted EBITDA margins between 3.8% and 4.3%, suggesting
2U, Inc. provides cloud‐based software‐as‐a‐            adjusted EBITDA of $16.0 million, and an adjusted net loss margin between (1.9)% and
service solutions for nonprofit colleges and
universities to deliver education to qualified
                                                        (1.4)%, suggesting an adjusted net loss per share of $0.12, by our calculation.
students. The company's cloud‐based SaaS
platform solutions include online campus, an           New strategic partnership: On January 22, 2U, Inc. and WeWork Companies announced a
online learning platform that enables its clients       multi‐year, global, exclusive partnership, in which WeWork will provide students in 2U‐
to offer educational content together with
instructor‐led classes in a live, intimate, and         powered online graduate programs Global Access Memberships to WeWork’s over 200
engaging setting through proprietary Web‐               physical locations in more than 65 cities in 20 countries. In addition, 2U will license (a
based and mobile applications; and content
management system, which enables its clients
                                                        perpetual source code license) Flatiron School’s Learn.co proprietary Learn.co technology,
to author, review, and deploy asynchronous              allowing 2U to integrate its technology into its online learning platform, for a total license
content into their online programs. Its cloud‐          fee of $13.2 million and an additional $1.3 million (integration software development
based SaaS platform solutions also comprise
application processing portal that automates            services) upon achievement of certain milestones.
the online application process for prospective
students of its client's programs; and customer        Reiterate OUTPERFORM investment rating: At current levels, 2U’s stock is trading at 9.1x
relationship management deployments, which
serve as the data hub for scheduling, student           our estimate of 2018 revenue, compared to an average of 4.8x for its Ed Tech peers (CHGG,
acquisition, student application, faculty               INST) and 5.5x for its vertical‐focused SaaS peer group (ELLI, HQY, WAGE, WDAY). We view
admissions review, enrollment and student
support for each program. The company offers
                                                        this premium as warranted given that 2U’s projected growth rate is much higher at
a suite of technology‐enabled services,                 39%/39% in 2017/2018, compared to an average of 34%/23% for the Ed Tech peer group
including content development, student                  and 22%/16% for the vertical‐focused SaaS peer group. Given 2U’s superior growth rate,
acquisition, and state authorization services, as
well as application advising, student and               revenue growth visibility/predictability and the size of its potential market, which is
faculty support and in‐program student field            enhanced by the recent acquisition of GetSmarter, we are reiterating our OUTPERFORM
placements that support the lifecycle of a
higher education program or course. 2U was              investment rating and raising our 12‐month price target to $80 (from $70), which assumes
founded by Christopher J. Paucek in April 2008          a 10x multiple on our forward revenue estimate (2018E).
and is headquartered in Lanham, MD.




Education Technology: Q4/17 Earnings Preview                                                                                                         7
                                                                             AR-C-1761
                     Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 8 of 13

                                                                                                                              January 25, 2018


Chegg, Inc.                                                                    Current Price:     $16.75             Rating:    OUTPERFORM
CHGG: NYSE                                                                     Range (52 wk):     $17.16 ‐ $6.84     Risk:      Aggressive
                                                                               Mkt Cap (mil):     $1,816             Target     $19

Alexander Paris, CFA                            Q4/17 Preview
(312) 634‐6352
aparis@brai.com                                    Chegg will report the financial results of its fourth quarter and year ended December 31 on
                                                    Monday, February 12, after the market close. A conference call will be conducted at 3:30
Chris Howe                                          pm CT to discuss the results. The dial‐in number is 877‐407‐4018.
(312) 634‐6343
ch@brai.com                                        Q4/17 estimates and guidance: Our estimates call for revenue of $70.5 million (+11.8%
                                                    YOY on a GAAP basis and +25.2% YOY on a proforma basis); adjusted EBITDA of $19.5
                                        20          million (+40.3% YOY); and non‐GAAP EPS of $0.13, up 30.0% from $0.10 last year. The
                                                    FactSet consensus calls for revenue of $70.6 million, adjusted EBITDA of $19.7 million and
                                        15          non‐GAAP EPS of $0.13. On its last conference call (October 30), management forecasted
                                                    revenue in a range of $70‐71 million; gross margins in a range of 69‐71% (our estimate is
                                        10          70.0%); and adjusted EBITDA of $19‐20 million. Chegg Services revenue is expected in a
                                                    range of $58‐59 million (our estimate is $58.5 million), up 32.3% YOY at the mid‐point.
                                        5
                                                   2017 estimates and guidance: Our estimates call for revenue of $252.1 million; adjusted
  Feb     May       Aug      Nov
                                                    EBITDA of $44.8 million, compared to $20.8 million in 2016; and non‐GAAP EPS of $0.24,
                                                    compared to a $0.09 in 2016. The FactSet consensus calls for revenue of $252.1 million,
   FY: Dec         Adj. EPS             PE          adjusted EBITDA of $45.1 million and non‐GAAP EPS of $0.26. Management’s guidance calls
   2016A            0.09                NM          for revenue of $251‐252 million (+26.4% YOY on a proforma basis) and adjusted EBITDA of
    2017E           0.24                69.8        $44‐45 million (+112‐116% YOY). Chegg Services revenue is expected in a range of $183‐
    2018E           0.46                36.3        184 million (our estimate is $183.7 million), up 42% YOY at the mid‐point.

                                                   2018 guidance: Management’s initial guidance for 2018 calls for total net revenue of $295
                                                    million (+17‐18% YOY), Chegg Services revenue of $240 million (+30‐31% YOY), gross
                                                    margins of greater than 70%, above its prior target operating model outlook of 65%‐plus;
                                                    and adjusted EBITDA of $74 million (25% margin). Our estimates call for revenues of $295.0
Company Description                                 million, adjusted EBITDA of $74.0 million and non‐GAAP EPS of $0.46.
Chegg, Inc. provides student‐first connected
learning platform, empowering students to
                                                   Recent acquisition: On October 18, Chegg announced that it had acquired Cogeon GmbH, a
take control of their education and help the        German‐based provider of adaptive math technology and developer of the math app, Math
students study, college admissions exams,           42 (www.math‐42.com). The acquisition allows for Chegg to offer self‐guided and
accomplish their goals, get grades and test
scores. The company offers an array of
                                                    individualized math solutions to more students, extending its network into the high school
required and non‐required scholastic                market. The Cogeon technology applies not only to math but to every discipline in STEM.
materials including millions of textbooks in        Chegg paid EUR 12.5 million (or approximately US $15 million) for Cogeon and will
any format, access to online homework help
and textbook solutions, course organization
                                                    potentially pay additional payments of up to EUR 7.5 (in cash or stock at the discretion of
and scheduling, as well as college and              Chegg) and EUR 3.2 million in restricted stock units over the next three years.
university matching tools and scholarship
connections. Chegg was founded by Osman            Reiterate OUTPERFORM investment rating: With the sticky “Amazon Prime” like service
Rashid and Aayush Phumbhra on July 29,              offerings of Chegg Study and other value‐added services still in the early innings, combined
2005 and is headquartered in Santa Clara,
CA..                                                with a data funnel now spanning from middle‐school through college, we believe there are
                                                    still levers to pull that continue to make this an attractive story moving forward. The stock
*Chegg Services includes Chegg Study,
Chegg Tutors and Chegg Writing Skills, as
                                                    has nearly quadrupled from its late February 2016 low of $3.47 per share, the result of
well as Test Prep, Enrollment Services, Brand       seven consecutive beat‐and‐raise quarters. At current levels, Chegg is trading at 5.5x our
Partnerships and Careers (internship.com).          2018 revenue estimate, a discount to its EdTech peers (6.0x) and a group of vertical
*Required Materials includes eTextbook,             focused SaaS companies (5.6x). As such, we are reiterating our OUTPERFORM investment
Print Textbooks (as if commission based)            rating and our 12‐month price target of $19, suggesting approximately 14% potential
and Ingram commissions.                             upside from current levels.




Education Technology: Q4/17 Earnings Preview                                                                                                   8
                                                                         AR-C-1762
                  Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 9 of 13

                                                                                                                       January 25, 2018


Instructure, Inc.                                                      Current Price:     $34.00               Rating    OUTPERFORM

INST: NYSE                                                             Range (52 wk):     $36.60 ‐ $21.40      Risk:     Aggressive

                                                                       Mkt Cap (mil):     $964                 Target    $41

Alexander Paris, CFA                     Q4/17 Preview
(312) 634‐6352
aparis@brai.com                             Instructure, Inc. will report the financial results of its fourth quarter and year ended
                                             December 31 on Monday, February 12, after the market close. The dial‐in number is (877)
Chris Howe                                   681‐3372 and the passcode is 9922149.
(312) 634‐6343
ch@brai.com                                 Q4/17 estimates and guidance: Our estimates call for fourth quarter revenue of $41.2
                                             million, up 30.7% from $31.6 million last year; an adjusted EBITDA loss of $7.1 million,
                                             compared to an adjusted EBITDA loss of $8.6 million last year; and a non‐GAAP net loss per
                                             share of $0.29, compared to a non‐GAAP net loss per share of $0.35 last year. The FactSet
                                             consensus calls for revenue of $41.4 million, an adjusted EBITDA loss of $6.8 million and a
                                             non‐GAAP net loss per share of $0.28. Management’s guidance (provided on October 30)
                                             calls for revenue in the range of $41.0‐41.6 million, a non‐GAAP net loss in the range of
                                             $8.8‐8.2 million (our estimate is ‐$8.6 million) and a non‐GAAP net loss per share in the
                                             range of $0.29‐0.27.

                                            Full‐year 2017 estimates and guidance: Our estimates call for 2017 revenue of $156.2
                                             million (+40.9% YOY), non‐GAAP net loss of $34.8 million (an improvement over a non‐GAAP
                                             net loss of $43.2 million in 2016) and non‐GAAP net loss per share of $1.19 (an
 FY: Dec       EPS Prev.         PE          improvement from ‐$1.55 in 2016). The FactSet consensus calls for revenue of $156.4
 2016A        (1.55)             NM          million, non‐GAAP net loss of $35.2 million and non‐GAAP net loss per share of $1.20.
 2017E        (1.19)             NM          Management’s full‐year 2017 guidance calls for revenue of $156.0‐156.9 million (+41‐42%),
 2018E        (0.79)             NM          a non‐GAAP net loss of $35.6‐35.0 million and a non‐GAAP net loss per share of $1.21‐1.19.

                                            Long‐range financial model: Management said it is still committed to its longer‐term model
                                             provided at the time of its IPO, which calls for $300‐500 million in revenues in five to seven
Company Description                          years (2020‐2022). Over the same period, the non‐GAAP gross margin should expand, with
Instructure, Inc. is a software‐as‐a‐        revenue growth, from 67% (in 2014) to 75% (it was 72% in Q2/17) and the non‐GAAP operating
service technology company, which            margin should expand from ‐66% to a range of 20‐25%. Leverage will come from Selling &
engages in making software. It also          Marketing expense, which should decline from 80% of revenue to 26‐28% (sales quota
involves in providing cloud‐based            efficiencies); Research & Development expense, which should decline from 48% of revenue to
learning management platform for
academic institutions and companies.         15‐17% (will moderate with revenue growth); and General & Administrative expense, which
The company was founded by Devlin            should decline from 25% of revenue to 9‐10%.
Daley and Brian Whitmer in September,
2008 and is headquartered in Salt Lake      Reiterate OUTPERFORM investment rating: At current levels, Instructure’s stock is trading
City, UT.
                                             at 4.5x our estimate of 2018 revenue, compared to an average of 6.3x for its Ed Tech peers
                                             (CHGG, CSOD, TWOU) and 6.1x for its vertical‐focused SaaS peer group (ELLI, HQY, WAGE,
                                             WDAY). We view this discount as unwarranted given that Instructure’s projected growth
                                             rate is much higher at 41%/28% in 2017/2018, compared to an average of 26%/20% for the
                                             Ed Tech peer group and 27%/19% for the vertical‐focused SaaS peer group. As Instructure
                                             moves towards cash positive (2018E) and profitability (2020E), we would expect its multiple
                                             to expand. Assuming a multiple of 5.5x our 2018 revenue estimate, more in line with the
                                             peer groups, our price target is $41, suggesting approximatley 20% upside.




Education Technology: Q4/17 Earnings Preview                                                                                             9
                                                                  AR-C-1763
                   Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 10 of 13

                                                                                                                           January 25, 2018


K12 Inc.                                                                     Current Price:     $16.65             Rating:   OUTPERFORM
LRN: NYSE                                                                    Range (52 wk):     $21.18 ‐ $15.07    Risk:     Aggressive
                                                                             Mkt Cap (mil):     $688               Target:   $22


Alexander Paris, CFA                          Q2/18 Preview
(312) 634‐6352
aparis@brai.com                                  K12 Inc. will report the results of its fiscal second quarter ended December 31 on Thursday,
                                                  January 25, after the market close. A conference call will be held at 4:00 pm CT. The dial‐in
Chris Howe                                        number is (877) 407‐4019.
(312) 634‐6343
ch@brai.com                                      Q2/18 estimates and guidance: Our estimates call for second quarter revenues of $220.0
                                                  million, down 0.5% from $221.1 million last year; EBITDA of $33.4 million, down 9.7% from
                                                  $37.0 million last year; adjusted operating income of $18.4 million, down 19.7% from $22.9
                                                  million last year; operating income of $13.4 million, down 26.8% from $18.3 million last
                                                  year; and diluted earnings per share of $0.22, down 26.7% from $0.30 last year.
                                                  Management expects revenue in the range of $217‐223 million and adjusted operating
                                                  income between $17‐20 million. The FactSet consensus calls for revenues of $220.9 million,
                                                  EBITDA of $36.9 million, adjusted operating income of $19.1 million, operating income of
                                                  $17.2 million and diluted earnings per share of $0.25.

                                                 FY/18 guidance and estimates: For the fiscal (June) year, management expects revenue
                                                  between $890‐910 million and adjusted operating income between $46‐50 million. In
 FY: Jun        EPS       Prev.      PE           terms of revenue per enrollment, management continues to see a positive overall per‐pupil
 2016A          0.44                37.6          funding environment continuing through FY/18. However, its revenue per enrollment will
 2017E          0.48                34.5          be somewhat pressured by school mix, due to its indexing a bit more newer states with the
 2018E          0.53                31.4          lower average revenue per enrollment. Given the mix and current climate, management
                                                  said it expects per‐pupil funding levels will be flat to up 1% on average. Our estimates call
                                                  for total revenues in FY/18 of $901.3 million (+1.4% YOY), adjusted EBITDA of $127.6
                                                  million (14.2% margin vs. 13.4% in FY/17), adjusted operating income of $47.0 million and
                                                  diluted EPS of $0.48 (+9.1% YOY). The FactSet consensus calls for revenue of $899.0 million,
                                                  adjusted EBITDA of $124.6 million, adjusted operating income of $45.0 million and diluted
Company Description
                                                  EPS of $0.50.
K12, Inc. engages in the provision of
technology‐based educational products
and solutions to public school districts,        Balance sheet strong with over $10 per share in cash and receivables and zero debt: As of
public schools, virtual charter schools,          September 30, 2017, cash and cash equivalents were $147.3 million, or $3.56 per share.
private schools, and consumers. It offers         Cash plus accounts receivable totaled $430.1 million, or $10.41 per share. Long‐term debt
online curriculum, software systems, and
                                                  was zero.
educational services designed to facilitate
individualized learning for students
primarily in kindergarten through 12th           Free cash flow increasing: As of September 30, on a trailing 12‐month basis, cash flow from
grade. It operates through the following          operations was $88.4 million. After capital expenditures of $49.7 million, free cash flow was
line of business: Managed Public School
Programs, Institutional, and Private Pay
                                                  $38.7 million. Capital expenditures are expected to be in the range of $43‐47 million in
Schools and Other. The Institutional              FY/18, which will drive increasing free cash flow going forward. They will then taper down
business provides educational products            to the $40‐45 million range in subsequent years.
and services to school districts, public
schools and other educational institutions
that the company does not manage. The
                                                 Our view: We were encouraged by the Fall term enrollment results, the second
Private Pay Schools and Other business            consecutive year of growth after three years of decline. The stock is currently trading at
relates to the private schools for which it       only 4.2x our estimate of FY/18 adjusted EBITDA, below its online‐focused postsecondary
charge student tuition and make direct            education (6.9x) peer group. As such, we are reiterating our OUTPERFORM investment
consumer sales. The company was
founded by Ronald J. Packard in 2000 and
                                                  rating and our 12‐month price target of $22, assuming a peer group multiple, as the current
is headquartered in Herndon, VA.                  discount is unwarranted, in our opinion.




Education Technology: Q4/17 Earnings Preview                                                                                                10
                                                                       AR-C-1764
                   Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 11 of 13

                                                                                                                            January 25, 2018


Rosetta Stone Inc.                                                           Current Price:     $12.39             Rating:    OUTPERFORM
RST: NYSE                                                                    Range (52 wk):     $13.67 ‐ $7.41     Risk:      Speculative
                                                                             Mkt Cap (mil):     $276               Target     $15

Alexander Paris, CFA                          Q4/17 Preview
(312) 634‐6352
aparis@brai.com                                  We project that Rosetta Stone Inc. will report the financial results of its fourth quarter
                                                  and year ended December 31, on or around Tuesday, March 13, after the market close.
Chris Howe
(312) 634‐6343                                   Q4/17 estimates: Our estimates call for revenue of $46.8 million (down 9.5% YOY); an
ch@brai.com                                       adjusted EBITDA loss of $668,000, compared to adjusted EBITDA of $3.5 million last year;
                                                  and a net loss of $6.4 million, or $0.29 per share, compared to a net loss of $5.6 million,
                                        14        or $0.25 per share, last year. The FactSet consensus (two estimates) calls for revenue of
                                        13        $46.4 million, an adjusted EBITDA loss of $0.7 million and a net loss of $6.2 million, or
                                        12        $0.28 per share.
                                        11
                                                 2017 guidance: For the full year, total consolidated revenues are expected in a range of
                                        10
                                                  $184‐187 (down 4‐5% YOY).
                                        9
                                        8         o   Enterprise & Education (E&E) segment revenues are expected at $68 million, down
                                        7             6% from $72.1 million in 2016, with flat margins as it laps its restructuring;
  Feb      May      Aug      Nov
                                                  o   Literacy (Lexia) segment revenues are expected to be slightly above $43 million, up
                                                      approximately 26% from $34.1 million in 2016, on bookings growth in the range of
 FY: Dec          EPS      Prev.      PE              23‐25% (suggesting $47‐48 million); and
 2016A           (1.25)               NM          o   Consumer segment revenues are expected to be approximately $75 million (‐15%
 2017E           (0.46)               NM              YOY), primarily due to the continued shift to subscription sales. Consumer
                                                      subscriptions are expected to represent 55% of the new units sold in 2017, compared
 2018E           (0.22)               NM
                                                      to 26% in 2016. This continued shift to subscription sales directly reduces GAAP
                                                      revenues and earnings (but not cash flow) during the transition period.
                                                  Management expects a full‐year GAAP net loss to be in a range of $10‐12 million,
                                                  compared to a net loss of $25.1 million in 2016, which includes a cash charge of
Company Description
                                                  approximately $1 million related to the headcount reduction of 60 employees. Adjusted
Rosetta Stone, Inc. engages in the                EBITDA is expected to be approximately $10‐12 million. The year‐end cash balance is
provision of technology based language
learning solutions. It develops, markets,         expected to be $44 million, up 21.6% from $36.2 million at the end of 2016.
and sells language learning solutions
consisting of software products, online          2017 estimates: For 2017, our estimates call for revenue of $186.6 million, adjusted
services, and audio practice tools under          EBITDA of $11.1 million and a GAAP net loss of $10.4 million, or $0.46 per share. The
the Rosetta Stone brand. It operates              FactSet consensus calls for revenue of $186.2 million, adjusted EBITDA of $11.0 million
through the Enterprise and Education,             and a GAAP net loss of $10.4 million, or $0.47 per share.
Literacy and Consumer segments. The
Enterprise and Education segment offers
                                                 Valuation: Our conservative sum‐of‐the‐parts exercise values Rosetta Stone at $17.06 per
language‐learning       to     educational
institutions,      corporations,        and       share. Utilizing recent transaction data (PMV) and industry multiples for comparable
government agencies worldwide under a             publicly‐traded businesses, we are using multiples of 1.5‐2.0x on the E&E Language
Software‐as‐a‐Service.     The     Literacy       business (which yields $5.51 per share in value at the midpoint), 3.0‐4.0x on Literacy
segment offers literacy solutions through
                                                  ($8.50), and 0.3‐0.5x on Consumer ($1.26) to our 2018 segment revenue estimates and,
Software‐as‐a‐Service       model        to
educational institutions serving grades K         after adjusted for net cash ($1.80), we derive an enterprise value of $299.4 million at the
through 12. The Consumer segment offers           mid‐point of the multiple ranges.
products to individuals and retail partners
worldwide. The company was founded by            Recommendation: We remain supportive of management’s transition strategy and
Allen Stoltzfus and John Fairfield in 1992        believe the shares are undervalued at current levels. In consideration of the intrinsic value
and is headquartered in Arlington, VA.
                                                  of its parts, continued strong growth of Lexia, cost savings initiatives and its healthy
                                                  balance sheet (no long‐term debt and nearly $2 per share in cash), we are reiterating our
                                                  OUTPERFORM investment rating and our conservative $15 price target, which represents
                                                  more than 20% potential upside from the current stock price.


Education Technology: Q4/17 Earnings Preview                                                                                                 11
                                                                      AR-C-1765
             Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 12 of 13

                                                                                                                                                                     January 25, 2018




                                 FOR IMPORTANT DISCLOSURE INFORMATION, PLEASE CONTACT:

                                                            Barrington Research Associates, Inc.
                                                                 ATTN: Disclosure Information
                                                                161 N. Clark Street, Suite 2950
                                                                     Chicago, IL 60601

                                                                         Phone: (312) 634-6000

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             EQUITY RATING SYSTEM:

                  ( 1)    OUTPERFO RM                            Expec ted to outperform the mark et (S&P 500) over the next 12 mont hs .
                                                                 Sound or improv ing company fundamentals .
                                                                 Potential exis ts for a near- ter m c ataly st.
                                                                 Underv alued at curr ent levels.

                  ( 2)    MARKET PERFO RM                        Expec ted to perform r oughly in line with the mark et ( S&P 500) ov er the nex t 12 months.
                                                                 Long-term potential ex is ts, but no near -term catalyst apparent.
                                                                 Fairly v alued at curr ent levels.

                  ( 3)    UNDERPERFO RM                          Expec ted to underperform the mar ket (S&P 500) over nex t 12 months.
                                                                 Company fundamentals may be deterior ating.
                                                                 Fully v alued or over- valued at cur rent levels

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                                                                 Inc ., as of December 31, 2017: T he number of c ompanies rated OUT PERFO RM was 83 and
                                                                 represented 65% of all companies on the c ov erage lis t. The number of companies rated
                                                                 MARKET PERFOR M was 43 and r epr esented 34% of all companies on the cover age lis t.
                                                                 The number of companies rated UNDER PERFOR M was 1 and r epr esented 1% of all
                                                                 companies on the coverage list. Also, as of Dec ember 31, 2017, Barr ington Researc h
                                                                 Associates, Inc. has pr ovided inves tment banking servic es, within the last 12 months, to 20%
                                                                 (17 of 83) of the companies that had O UTPERF ORM ratings, 5% ( 2 of 43) of the companies
                                                                 that had MARKET PERFO RM ratings, and 0% (0 of 1) of the companies that had
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Education Technology: Q4/17 Earnings Preview                                                                                                                                      12
                                                                                     AR-C-1766
                 Case 2:21-cv-00177-SRB Document 59-25 Filed 05/16/22 Page 13 of 13

                                                                                                                                           January 25, 2018


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Education Technology: Q4/17 Earnings Preview                                                                                                                       13
                                                                           AR-C-1767
